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TUAN DAO




                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                        Case No. 2:09-cr-0222-TLN
              Plaintiffs,                        STIPULATION AND ORDER
vs.
TUAN DAO,
              Defendant.
                                             /


              It is hereby stipulated and agreed to by the United States of America
through HEIKO P. COPPOLA, Assistant United States Attorney and defendant TUAN
DAO, by and through his attorney, KENNY N. GIFFARD, that the Judgment and
Sentencing set for Thursday, October 23, 2014, be continued to Judgment and Sentencing
on Thursday, December 18, 2014, at 9:30 a.m.
              This continuance is being requested because the Assistant United States
Attorney just completed three back-to-back trials following a military deployment.
Because of that, there was inadequate time in which to confer with defense counsel and
probation and remedy discrepancies found in the Pre-Sentence Report.
              Those issues found in the Pre-Sentence Report prepared in Mr. Dao’s
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portion of this case contained factual allegations which were not contemplated by the
parties when the PLEA AGREEMENT was made at the December 12, 2013, hearing on
Mr. Dao’s change of plea. Because of those discrepancies, portions of the Pre-Sentence
Report were objected-to by this defendant.
              The factual discrepancies substantially affect the “Offense Level” and
potential sentence to be served by Mr. Dao in this case. The time requested will allow
both the United States Attorney and defense counsel time to resolve those disputed facts
so that the matter may proceed for sentencing.
Dated: October 20, 2014
                                           Respectfully submitted,


                                           /s/ Kenny N. Giffard
                                           KENNY N. GIFFARD
                                           Attorney for Defendant
                                           TUAN DAO


                                           /s/ Kenny N. Giffard for
                                           HEIKO P. COPPOLA
                                           Assistant U.S. Attorney



                                          ORDER
              Based upon the stipulation of the parties and good cause there appearing,
the Court hereby adopts the stipulation of the parties in its entirety as its order. The
Judgment and Sentencing is set for December 18, 2014, at 9:30 a.m.
Dated: October 22, 2014




                                       Troy L. Nunley
                                       United States District Judge
